Case 8:15-CV-01802-SDI\/|-I\/|AP Document 1 Filed 08/03/15 Page 1 of 4 Page|D 1

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA })IVISION

JERRY CLEMENTI,

Pfaintiff, CASE NO.
v.
CAPITAL ONE BANK, N.A.,

Defendant.

/
VERIFIEI) COMPLAINT

 

COMES NOW the Plaintiff, JERRY CLEMENTI (“Plaintiff”), by and through the
undersigned attomeys, KROHN & MOSS, LTD., and for Plaintiff’ s Complaint against Defendant,
CAPITAL ONE BANK, N.A. (“Defendant”), alleges and affirmatively states as follows:

INTROI)UC'I`ION
1. Count f of Plaintiff"s Complaint alleges that Defendant negligent§y, knowineg

and/or Wilifully violated ihe 'l`elephone Consumer Protection Act, 47 U.S.C. § 227 er Seq. (TCPA).

 

JURISDICTION AND VENUE
2. Jurisdict_ion of this-court arises pursuant to 28 U.S.C. ~1331.
3. Because Defendant conducts business in the State of F}orida personal jurisdiction

is established

4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

VERIFIED COMPLAINT 1

Case 8:15-cV-01802-SDI\/|-I\/|AP Document 1 Filed 08/03/15 Page 2 of 4 Page|D 2

PARTIES
5. Plaintiff is a natural person Wbo resides in Tainpa, l~lillsborougli County, Florida.
6. Defendant is a business entity Witl'i a principal place of business in Kettering, Obio.
7. Dei`endant acted through its agents, employees, ofticers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers

 

FACTUAL ALLEGATIONS
8. Dei`endant places collection calls to Plaintit“f seeking and attempting to collect on
an alleged debt
9. Defend.ant places collection calls to Plaintif'l” s cellular telephone at phone number

(313) 283~03XX.

10. Defendant places collection calls to Plairitif’f from phone numbers includingj but
not limited to, 800-955-6600 and 800~213-3798.

ll. Per its prior business practices, Defendant’s calls Were placed Witli an automated
dialing system (“auto~dialer”).

12. On April 13, 2015, Plaintiff requested that Defendant cease placing collection calls
to his cell phone and requested that Defendant stop calling him regarding any of his Capital One
accounts

13. Plaintiff revoked any consent, explicit, irnplied, or otherwise, to call ber cellular
telephone and/or to receive Defendant’s calls using an automatic telephone dialing system during
the telephone call on April lB, 2015.

14. Despite Plaintift"’s request to cease, l)efendant placed at least 172 automated
collection calls to Plaintiff over an approximate ten~weel< period

lS. Defendant Willt`ully and voluntarily used an automatic telephone dialing system to

VERIFIED COMPLAINT 2

Case 8:15-cV-01802-SDI\/|-I\/|AP Document 1 Filed 08/03/15 Page 3 of 4 Page|D 3

place these calls

16. Defendant intended to use an automatic telephone dialing system to place these
calls.

17. Defendant did not have Plaintiff’s express consent to use an automatic telephone
dialing system to place these calls

COUNT 1
DEFENDANT VIOLATEI) TI-IE TELEPHONE CONSUMER PROTECTION ACT

lS. Defendant’s actions alleged supra constitute numerous negligent violations of the
TCPA, entitling Plaintiff to an award of $500.00 in statutory damages for each and every violation
pursuant to 47 U.S.C. § 227(b)(3)(B).

19. l)efendant’s actions alleged supra constitute numerous and multiple knowing
and/or Wilit`ul violates of the TCPA, entitling Piaintiff to an award of $lSO0.00 in statutory
damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §
227(b)(3)(C).

WHEREFORE, Plaintiff, JERRY CLEMENTl, respectfully requests judgment be entered
against Defendant, CAPITAL ONE BANK, N.A., for the following:

20. Statutory damages of $500.00 for each and every negligent violation of the TCPA
pursuant to 47 U.S.C. § (b)(B)(B),

21. Statutory damages of $l 500.00 for each and every knowing and/or vvillful violation
of the TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (h)(S)(C),

22. All court costs, Witness fees and other fees incurred,

23. Any other relief that this llonoral)le Court deems appropriate

VERIFIED COMPLAINT 3

Case 8:15-cV-01802-SDI\/|-I\/|AP Document 1 Filed 08/03/15 Page 4 of 4 Page|D 4

Dated: July 22, 2015 UFULLY SUBMITTED,
By: /M\

sham nimmer

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VBRIFIED COMPLAINT 4

